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IN THE UNITED STATES DISTRICT COURT
MIDDLE DISTRICT OF FLORIDA
TAMPA DIVISION

RAGAN ROWLAND,
CASE NO.: 8:16-cv-02267-JSM-JSS
Plaintiff,
This motion/petition/stipulation has ae ~~
VS. considered and is hereby S BAY \ g

this ‘/ _ day of ECEME , 20 \\Xo.

C SW yf) lV | ADK
Defendant. /]} JAMES S. MOODY, Wy
/ {/ U.S. DISTRICT JUDGE

 
 
  
  

CITIBANK, N.A.,

JOINT STIPULATION OF DISMISSAL WITH PREJUDICE

Pursuant to Rule 41(a)(1)(A)(ii) of the Federal Rules of Civil Procedure, the parties hereby
dismiss the above-entitled action and all claims asserted in the action with prejudice, with each
party to bear their own fees and costs.

Date: December 6, 2016

 

 

 

 

/s/ John L. Dicks /s/ Christopher W. Boss

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FL Bar No.: 89012 Florida Bar No.: 13183

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[Certificate of service on following page]
